    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA         Document
                                    Document614-1
                                             557    Filed
                                                     Filed11/22/24
                                                           06/20/25   Page
                                                                       Page11ofof38
                                                                                  38




                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                   EUGENE DIVISION



WYATT B. et al.                                             Civ. No. 6:19-cv-00556-AA

                     Plaintiffs,                              OPINION & ORDER
              v.

TINA KOTEK et al.,

                  Defendants.
_______________________________________

AIKEN, District Judge.

        This case comes before the Court on Plaintiff’s Motion for Attorney Fees and

Costs. ECF No. 514. For the reasons set forth below, the motion is GRANTED in

part.

                                    INTRODUCTION

        “There can be no keener revelation of a society’s soul than the way in which it

treats its children.” Nelson Mandela, President of South Africa, Address by President

Nelson Mandela at the launch of the Nelson Mandela Children’s Fund, Pretoria, (May

8, 1995). Measured by that metric, Plaintiffs’ case has been a resounding success. In

2018, the Oregon Secretary of State published an audit in which the Secretary

exhaustively documented the failures and shortcomings of the Oregon Department of

Human Services with respect to Oregon’s foster care system. The following year,


                                                                            Exhibit A
                                                                            Emily Cooper Decl.
Page 1 –OPINION & ORDER
     Case
      Case3:02-cv-00339-AN
           6:19-cv-00556-AA          Document
                                      Document614-1
                                               557         Filed
                                                            Filed11/22/24
                                                                  06/20/25      Page
                                                                                 Page22ofof38
                                                                                            38




Plaintiffs commenced this action, seeking sweeping reforms of Oregon’s child welfare

system.     Over the next five years of frequently bitter litigation and contentious

negotiation, they continued to pursue that goal, culminating in the Settlement

Agreement. That Agreement contemplates major reforms of the child welfare system

in Oregon, overseen and monitored by an experienced and neutral third party.1 The

parties and the Court are united in our hope for the success of the promised reforms.

While Plaintiffs did not win every skirmish on the way to ultimate victory, their

submissions reflect justifiable pride in what they have achieved in this case.

         The case now comes to the Court on Plaintiffs’ motion for attorney fees, in

which they seek $10,920,301.00 in attorney fees and $590,580.07 in costs,

representing more than 23,000 hours of billable work over five long years of litigation.

The Settlement Agreement provided for a negotiated resolution of the fee issue, but

the parties were unable to reach an agreement and so the matter returns to the Court

for resolution.

         Defendants have objected to Plaintiffs’ fee request in strident terms,

challenging the number of attorneys, the hours expended, the rates requested, and

the tasks performed.         Defendants propose sweeping and drastic reductions to

Plaintiffs’ fees and costs, amounting to 50% of the fees and nearly 60% of Plaintiffs’

costs.    These proposals, and many of Defendants objections, ring hollow when

Plaintiffs’ submissions are compared to Defendants’ own fees and costs in this case.


1
 The Neutral selected in this case, Kevin Ryan, has considerable experience with the reform of child
welfare systems, including those in Michigan, Oklahoma, Texas, and New Jersey. ECF No. 497.
The Court has confidence in Mr. Ryan’s ability and anticipates that his assistance will be a key
component of the planned reforms.


Page 2 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA     Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page33ofof38
                                                                                 38




      Over the life of the case, Defendants’ counsels’ firm, Markowitz Herbold PC,

employed thirty-three attorneys to work on this matter, of whom thirteen were

partners. As of July 3, 2024, Defendants billed a total of $18,098,921.50 in fees,

accounting for 52,558.7 billable hours of work, in addition to costs of $5,225,465.88.

Blaesing Decl. Exs. 1, 2. These fees and costs total $23,324,387.38, roughly double

the fees and costs sought by Plaintiffs. The Oregon Department of Justice spent an

additional $325,504.57 in attorney fees on this case, beyond what was billed by the

Markowitz Herbold attorneys. Blaesing Decl. ¶ 3. These figures do not include the

fees incurred by Defendants in preparing their Objections to Plaintiff’s fee motion,

which the Court presumes are substantial based on the scope of the Objections and

their supporting exhibits. The Court is not here to pass judgment on the propriety of

Defendants’ fees—that is between Defendants’ counsel and the State of Oregon.

However, the Court notes that fees for all parties were driven up by certain litigation

decisions made by Defendants in this case, notably concerning discovery.

      Finally, the Court wishes to note that this case was repeatedly referred for

settlement conferences beginning in 2019 and culminating in the 2024 Settlement

Agreement, executed on the eve of trial. By design, the Court does not know what

happened in those unsuccessful settlement conferences. However, fees and costs for

all parties rose substantially as the case approached trial and it is impossible not to

reflect on how much attorney time and public money might have been saved had the

parties been able to come to an agreement earlier in the life of the case. One is left

to wonder how much more progress might have been made in repairing the




Page 3 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA      Document
                                 Document614-1
                                          557      Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page44ofof38
                                                                                 38




deficiencies identified by the Secretary of State’s audit had the tens of millions of

dollars expended in this litigation been devoted instead to that goal.

                     ENTITLEMENT TO FEES AND COSTS

      The Settlement Agreement, ECF No. 481, provides for the payment of

Plaintiffs’ reasonable attorney fees and costs:

      Even though no liability was determined by the Court, the Parties agree
      that Plaintiffs’ counsel are entitled to an award of reasonable attorney
      fees and costs pursuant to 42 U.S.C. § 1988 and any applicable laws . . .
      In the event the Parties do not reach agreement on the amount of
      Plaintiffs’ reasonable attorney fees and costs award, Plaintiffs shall
      submit a fee petition to the Court by July 3, 2024. Plaintiffs will not
      seek any fee enhancement or multiplier. Defendants shall be entitled to
      present any and all objections . . . The Parties agree that the Court’s
      decision on attorney fees shall not be appealable. The parties further
      agree that payment shall be made upon Effective Date of this Settlement
      or November 30, 2024, whichever is later, unless an alternative payment
      plan is otherwise agreed to between the Parties.

Settlement Agreement, § 12.

      Under 42 U.S.C. § 1988, courts are authorized to award attorney fees to the

prevailing party in an action under 42 U.S.C. § 1983, among other statutes. 42 U.S.C.

§ 1988(b).

      Under the ADA, the Court “may allow the prevailing party . . . a reasonable

attorney’s fee, including litigation expenses, and costs[.]” 42 U.S.C. § 12205.

      A plaintiff who enters “into a legally enforceable settlement agreement against

the defendant” is a “prevailing party” in the Ninth Circuit.             Barrios v. Cal

Interscholastic Fed., 277 F.3d 1128, 1134 (9th Cir. 2002).




Page 4 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA       Document
                                  Document614-1
                                           557      Filed
                                                     Filed11/22/24
                                                           06/20/25    Page
                                                                        Page55ofof38
                                                                                   38




                                 LEGAL STANDARD

      The Ninth Circuit has adopted the “lodestar” method for calculating attorney

fees. Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008). That

calculation multiplies a reasonable hourly rate by the number of hours reasonably

expended in the litigation.      Hensley v. Eckerhart, 461 U.S. 424, 433 (1983);

Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 564 (1986).

The Court must then decide whether to enhance or reduce the lodestar figure by

evaluating a number of factors. Moreno v. City of Sacramento, 534 F.3d 1106, 1111

(9th Cir. 2008).

      The court may adjust the lodestar to account for factors such as: (1) the time

and labor required; (2) the novelty and difficulty of the questions involved; (3) the

skill requisite to perform the legal service properly; (4) the preclusion of other

employment by the attorney due to acceptance of the case; (5) the customary fee; (6)

whether the fee is fixed or contingent; (7) time limitations imposed by the client or

the circumstances; (8) the amount involved and the results obtained; (9) the

experience, reputation, and ability of the attorneys; (10) the undesirability of the case;

(11) the nature and length of the professional relationship with the client; and (12)

awards in similar cases. Kerr v. Screen Actors Guild, Inc., 526 F.2d 67, 70 (9th Cir.

1975). The court need only consider the factors not already subsumed in the initial

lodestar calculation. Fischer v. SJB-P.D., Inc., 214 F.3d 1115, 1119 (9th Cir. 2000).

      There is a strong presumption that the lodestar method produces a reasonable

figure and should only be enhanced or reduced in exceptional circumstances.




Page 5 –OPINION & ORDER
     Case
      Case3:02-cv-00339-AN
           6:19-cv-00556-AA          Document
                                      Document614-1
                                               557         Filed
                                                            Filed11/22/24
                                                                  06/20/25      Page
                                                                                 Page66ofof38
                                                                                            38




Delaware Valley Citizens, 478 U.S. at 565; Fischer, 214 F.3d 1119 n.4. Courts have

discretion, however, to adjust the lodestar figure either: (1) downward if the plaintiff

has achieved only partial or limited success or if the fee is otherwise unreasonable,

Hensley, 461 U.S. at 435-36, or (2) upward in “rare” and “exceptional” cases. Delaware

Valley Citizens, 478 U.S. at 565.

                                         DISCUSSION

        In their motion, Plaintiffs seek a total award of fees in the amount of

$10,920,301.00 through July 3, 2024. These fees are divided between the four firms

and organizations who represented Plaintiffs: A Better Childhood ($7,537,573.04),

Lowry Decl. ¶ 2, ECF No. 518; Disability Rights Oregon ($1,236,024.50), Cooper Decl.

Ex. F, at 21. ECF No. 519; Davis Wright Tremaine ($1,394,288.00), Miner Decl. ¶ 4,

ECF No. 523; and Rizzo Bosworth Eraut, P.C. ($1,221,304.20), Rizzo Decl. Ex. 1, at

66, ECF No. 522. Plaintiffs have voluntarily discounted a portion of their fees,

accounting for a difference between sum of the amounts listed above and the total

requested fee of $10,920,301.00. Pl. Mot. 1 n.1; McDermott Decl. ¶ 12(2), ECF No.

515.2

        Plaintiffs seek costs totaling $590,580.07.3 As with attorney fees, these costs

are divided between the firms and organizations that represented Plaintiffs: A Better

Childhood ($136,279.84), Supp. Lowry Decl. Ex. 2, at 9, ECF No. 538; Disability

Rights Oregon ($20,730.52), Cooper Decl. Ex. F, at 22; Davis Wright Tremaine


2
  Defendants’ counsel similarly “No Charged” a portion of their hours, totaling $819,828.50. Blaesing
Decl. ¶ 5.
3
  Plaintiffs reduced their requested costs by $1,734.06 in their Reply brief. Supp. Lowry Decl. ¶ 13,
Ex. 3.


Page 6 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA     Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page77ofof38
                                                                                 38




($429,112.45), Miner Decl. ¶ 10; and Rizzo Bosworth Eraut ($4,447.26), Rizzo Decl.

Ex. 1, at 77.

   I.      Reasonable Hourly Rates

        Defendant objects to the rates claimed by Plaintiffs’ counsel. In setting a

reasonable hourly rate, courts look to the fee customarily charged in the relevant

community. Bell v. Clackamas Cnty., 341 F.3d 858, 868 (9th Cir. 2003). In Oregon,

courts have recourse to the most recent edition of the Oregon State Bar (“OSB”)

Economic Survey. See, e.g., Precision Seed Cleaners v. Country Mut. Ins. Co., 976 F.

Supp.2d 1228, 1244 (D. Or. 2013) (“As a benchmark for comparing an attorney’s

billing rate with the fee customarily charged in the locality, this Court uses the most

recent Oregon State Bar (OSB) Economic Survey.”). The 2022 Oregon State Bar

(“OSB”) Economic Survey is available on the Oregon State Bar website at

https://www.osbar.org/_docs/resources/Econsurveys/22EconomicSurvey.pdf.

        Here, Defendants urge the Court to apply a 75th percentile rate derived from

the 2022 OSB Economic Survey. However, the 2022 OSB Economic Survey does not

include a 75th percentile rate. Rather, it presents the mean, median, and 95th

percentile rates. See, e.g., OSB Economic Survey, at 42; Fauria Decl. ¶ 3. ECF No.

534. Defendants’ counsel has presented data concerning the 75th percentile rate for

downtown Portland, divided by number of years in practice, which they solicited from

two of the authors of the OSB Economic Survey. Fauria Decl. Ex. 1, at 5. While the

Court appreciates Defendants’ efforts in providing the additional data, the Court will

focus its attention on the published figures in the 2022 OSB Economic Survey.




Page 7 –OPINION & ORDER
       Case
        Case3:02-cv-00339-AN
             6:19-cv-00556-AA          Document
                                        Document614-1
                                                 557         Filed
                                                              Filed11/22/24
                                                                    06/20/25   Page
                                                                                Page88ofof38
                                                                                           38




          The Court acknowledges that, despite its utility, there are limitations to the

OSB Economic Survey data, beyond the lack of a published 75th percentile rate. The

OSB Economic Survey does not include many of the specific areas of law involved in

the present case, such as class actions, civil rights litigation, and constitutional law,

nor does the Economic Survey account for important factors such as the skill, actual

experience, or reputation of the attorneys involved. As a result, the Court will

supplement its review of the OSB Economic Survey data with the expert opinions

supplied by Plaintiffs,4 the McDermott Declaration, the Payne Declaration, ECF No.

516, and the Walsh Declaration, ECF No. 517, and with the Court’s own long

experience in the consideration of attorney fee petitions.

          A. A Better Childhood

          A Better Childhood employed a total of fourteen attorneys and eight paralegals

in this case, with various attorneys joining and leaving the team between 2019 and

2024. Lowry Decl. ¶ 2.

          Marcia Lowry claims a rate of $800. Lowry Decl. ¶ 2. Ms. Lowry has been an

attorney for fifty-five years and has been litigating child welfare cases since 1970. Id.

at ¶ 6. Ms. Lowry has been involved in numerous civil rights organizations and had

been counsel in more than twenty class action lawsuits involving child welfare

services. Id. Ms. Lowry’s claimed rate is approximately the 95th percentile for

downtown Portland under the 2022 OSB Economic Survey. OSB Economic Survey,

at 43. Given her specialized expertise and formidable experience, and considering



4
    Defendants did not submit any expert opinions concerning attorney fees.


Page 8 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA      Document
                                 Document614-1
                                          557      Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page99ofof38
                                                                                 38




the opinions of Plaintiffs’ expert, McDermott Decl. ¶ 17, and accounting for inflation

between 2022 and 2024, the Court concludes that Ms. Lowry’s rate is reasonable.

      Dawn Post claims a rate of $600. Lowry Decl. ¶ 2. Ms. Post has been an

attorney for twenty-four years, working in juvenile rights through the Legal Aid

Society where she represented more than 2,500 children in individual cases. Id. at ¶

7. She has been the Deputy Director of A Better Childhood since 2018. Id. The

claimed rate falls between the median and 95th percentile for an attorney with Ms.

Post’s experience.    OSB Economic Survey, at 42-43.          Considering Ms. Post’s

experience, the opinions of Plaintiff’s expert, and the customary rates, the Court finds

the claimed rate reasonable.

      Alison Mahoney claims a rate of $450. Lowry Decl. ¶ 2. Ms. Mahoney has been

an attorney for thirteen years, working in litigation, as a prosecutor, and as an

attorney for children in family court proceedings. Id. at ¶ 8. Ms. Mahoney has been

a staff attorney with A Better Childhood since 2018. Id. The claimed rate falls

between the median and 95th percentile for an attorney with Ms. Mahoney’s

experience. OSB Economic Survey, at 42-43. Considering Ms. Mahoney’s experience,

the opinions of Plaintiff’s expert, and the customary rates, the Court finds the claimed

rate reasonable.

      Anastasia Benedetto claims a rate of $400. Lowry Decl. ¶ 2. Ms. Benedetto

has been an attorney for seven years. Id. at ¶ 14. Ms. Benedetto worked as a litigator

for a year before becoming a staff attorney at A Better Childhood in 2018 and a senior

staff attorney in 2022. Id. The rate falls between the median and 95th percentile for




Page 9 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA       Document
                                 Document614-1
                                          557      Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page10
                                                                           10ofof38
                                                                                  38




an attorney with Ms. Benedetto’s experience.        OSB Economic Survey, at 42-43.

Considering Ms. Benedetto’s experience, the opinions of Plaintiff’s expert, and the

customary rates, the Court finds the claimed rate reasonable.

      Aarti Iyer claims a rate of $400. Lowry Decl. ¶ 2. Ms. Iyer has been an attorney

for ten years. Lowry Decl. ¶ 17. She worked as a litigator before becoming a staff

attorney at A Better Childhood in 2019. Id. at ¶ 17. The rate falls between the median

and 95th percentile for an attorney with Ms. Iyer’s experience.         OSB Economic

Survey, at 42-43. Considering Ms. Iyer’s experience, the opinions of Plaintiff’s expert,

and the customary rates, the Court finds the claimed rate reasonable.

      Sarah Jaffe claims a rate of $450. Lowry Decl. ¶ 2. Ms. Jaffe has been an

attorney for eleven years.     Id. at ¶ 10. She worked as a staff attorney at The

Children’s Law Center before becoming a staff attorney at A Better Childhood in

2016. Id. This rate falls between the median and 95th percentile for an attorney

with Ms. Jaffe’s experience. OSB Economic Survey, at 42-43. Considering Ms. Jaffe’s

experience, the opinions of Plaintiff’s expert, and the customary rates, the Court finds

the claimed rate reasonable.

      Valerie McLaughlin claims a rate of $400. Lowry Decl. ¶ 2. Ms. McLaughlin

has been an attorney for eight years. Id. at ¶ 18. She worked as a legal researcher

before becoming a staff attorney at A Better Childhood in 2018. Id. The rate falls

between the median and 95th percentile for an attorney with Ms. McLaughlin’s

experience.   OSB Economic Survey, at 42-43.          Considering Ms. McLaughlin’s




Page 10 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page11
                                                                           11ofof38
                                                                                  38




experience, the opinions of Plaintiff’s expert, and the customary rates, the Court finds

the claimed rate reasonable.

      Erin Gallagher claims a rate of $400. Lowry Decl. ¶ 2. Ms. Gallagher has been

an attorney for nine years. Id. at ¶ 12. Ms. Gallagher worked as a litigator and a

law clerk in the Eastern District of New York before becoming a staff attorney at A

Better Childhood in 2020. Id. The rate falls between the median and 95th percentile

for an attorney with Ms. Gallagher’s experience. OSB Economic Survey, at 42-43.

Considering Ms. Gallagher’s experience, the opinions of Plaintiff’s expert, and the

customary rates, the Court finds the claimed rate reasonable.

      Tavi Unger claims a rate of $400. Lowry Decl. ¶ 2. Ms. Unger has been an

attorney for seven years. Id. at ¶ 16. Ms. Unger worked as a labor attorney before

becoming a staff attorney at a Better Childhood in 2020. Id. The rate falls between

the median and 95th percentile for an attorney with Ms. Unger’s experience. OSB

Economic Survey, at 42-43. Considering Ms. Unger’s experience, the opinions of

Plaintiff’s expert, and the customary rates, the Court finds the claimed rate

reasonable.

      Jonathan Borle claims a rate of $400. Lowry Decl. ¶ 2. Mr. Borle has been an

attorney for eight years. Id. at ¶ 13. He has worked as a litigator and a law clerk in

the Western District of Tennessee. Id. He became a staff attorney with A Better

Childhood in 2021. Id.     The rate falls between the median and 95th percentile for

an attorney with Mr. Borle’s experience.          OSB Economic Survey, at 42-43.




Page 11 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page12
                                                                           12ofof38
                                                                                  38




Considering Mr. Borle’s experience, the opinions of Plaintiff’s expert, and the

customary rates, the Court finds the claimed rate reasonable.

      Julia Tebor claims a rate of $450. Lowry Decl. ¶ 2. Ms. Tebor has been an

attorney for twelve years. Id. at ¶ 9. Ms. Tebor worked in complex litigation in the

financial industry and has been a senior staff attorney with A Better Childhood since

2022. Id. The rate falls between the median and 95th percentile for an attorney with

Ms. Tebor’s experience. OSB Economic Survey, at 42-43. Considering Ms. Tebor’s

experience, the opinions of Plaintiff’s expert, and the customary rates, the Court finds

the claimed rate reasonable.

      Lindsay Gus claims a rate of $400. Lowry Decl. ¶ 2. Ms. Gus has been an

attorney for seven years. Id. at ¶ 15. She has worked as an assistant district attorney

and as a law clerk in the Eastern District of New York before becoming a staff

attorney at A Better Childhood in 2023. Id. The rate falls between the median and

95th percentile for an attorney with Ms. Gus’s experience. OSB Economic Survey, at

42-43. Considering Ms. Gus’s experience, the opinions of Plaintiff’s expert, and the

customary rates, the Court finds the claimed rate reasonable.

      Laura Welikson claims a rate of $450. Lowry Decl. ¶ 2. Ms. Welikson has been

an attorney for eleven years. Id. at ¶ 11. She has worked as a litigator and has served

as a law clerk in the Southern District of New York and for the Fifth Circuit. Id. She

became a staff attorney at A Better Childhood in 2023. Id. The rate falls between

the median and 95th percentile for an attorney with Ms. Welickson’s experience. OSB

Economic Survey, at 42-43. Considering Ms. Welikson’s experience, the opinions of




Page 12 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA     Document
                               Document614-1
                                        557      Filed
                                                  Filed11/22/24
                                                        06/20/25   Page
                                                                    Page13
                                                                         13ofof38
                                                                                38




Plaintiff’s expert, and the customary rates, the Court finds the claimed rate

reasonable.

       David Baloche claims a rate of $350. Lowry Decl. ¶ 2. Mr. Baloche has been

an attorney for four years. Id. at ¶ 19. He worked as a legal researcher before

becoming a staff attorney at A Better Childhood in 2022. Id. The rate falls between

the median and 95th percentile for an attorney with Mr. Baloche’s experience. OSB

Economic Survey, at 42-43. Considering Mr. Baloche’s experience, the opinions of

Plaintiff’s expert, and the customary rates, the Court finds the claimed rate

reasonable.

       A Better Childhood’s paralegals billed at a rate of $250 per hour. Lowry Decl.

¶ 2.   $250 is the statewide median rate for an Oregon attorney with zero to three

years of experience, OSB Economic Survey, at 42, and so the Court concludes that

$250 is a reasonable rate for A Better Childhood’s paralegals.

       B. Disability Rights Oregon

       Emily Cooper claimed a rate of $630 for work done in 2019, $635 for work done

in 2020, $640 for work done in 2021, $645 for work done in 2022 and 2023, and $650

for work done in 2024. Cooper Decl. Ex. F, at 1-7. Ms. Cooper has been engaged in

the practice of law for twenty-one years, with considerable expertise in litigating

class-action disability suits. Cooper Decl. ¶¶ 2, 5-9. Ms. Cooper currently serves as

the legal director for Disability Rights Oregon. Payne Decl. ¶ 32. The claimed rates

fall between the median and 95th percentile for Portland attorneys with Ms. Cooper’s

level of experience. OSB Economic Survey, at 43. The Court has considered Ms.




Page 13 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557      Filed
                                                   Filed11/22/24
                                                         06/20/25   Page
                                                                     Page14
                                                                          14ofof38
                                                                                 38




Cooper’s experience, the customary rates reflected in the OSB Economic Survey, and

the opinions of Plaintiffs’ experts, McDermott Decl. ¶ 24; Payne Decl. ¶ 32; Walsh

Decl. ¶ 11, and concludes that the rates claimed for Ms. Cooper are reasonable.

      Chris Shank claimed a rate of $625 for work done in 2019. Cooper Decl. Ex. F,

at 7-8. Ms. Shank has twenty-five years of experience, particularly “with youth with

disabilities, in the context of special education, foster care, juvenile justice, and

juvenile dependency.” McDermott Decl. ¶ 23. Although this rate approaches the 95th

percentile for 2022 for attorneys with Ms. Shank’s experience, the Court has

considered the opinions of Plaintiff’s experts, Payne Decl. ¶¶ 29-30, together with Ms.

Shank’s experience and expertise and concludes that the requested rate is reasonable.

      Tom Stenson claimed a rate of $625 for work done in 2019, $630 for work done

in 2020, $635 for work done in 2021, $640 for work done in 2022 and 2023, and $645

for work done in 2024. Cooper Decl. Ex. F, at 8-19. Mr. Stenson has nineteen years

of experience as an attorney, with considerable experience in trial work. Stenson

Decl. ¶¶ 5-6. He has extensive experience in civil rights litigation through his work

as an ACLU attorney in Alaska and nine years as the deputy legal director of

Disability Rights Oregon.     Stenson Decl.     ¶¶ 2-3, 7-10.    The claimed rate is

approaching the 95th percentile for attorneys with Mr. Stenson’s level of experience.

OSB Economic Survey, at 43. Considering Mr. Stenson’s experience and the opinions

of Plaintiffs’ experts, McDermott Decl. ¶ 25; Payne Decl. ¶ 31; Walsh Decl. ¶ 11, the

Court concludes that the rate claimed for Mr. Stenson is reasonable.




Page 14 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA    Document
                              Document614-1
                                       557      Filed
                                                 Filed11/22/24
                                                       06/20/25   Page
                                                                   Page15
                                                                        15ofof38
                                                                               38




      Paralegal Sam Shaw claimed a rate of $250 for work done in 2023 and 2024.

Cooper Decl. Ex. F, at 19-21. As discussed elsewhere in this Opinion, $250 is the

statewide median rate for an Oregon attorney with zero to three years of experience

and so the Court concludes that $250 is a reasonable rate for Disability Rights

Oregon’s paralegals.

      C. Davis Wright Tremaine

      Multiple attorneys, paralegals, and other staff of Davis Wright Tremaine

worked on this case between 2019 and 2024.

      1. Attorneys

      Gregory Chaimov, a partner, billed $610 in 2019; $650 in 2020; and $690 in

2021. Mr. Chaimov has considerable experience, from his graduation from law school

in 1982 until his retirement in 2021. Miner Decl. ¶ 6(c). Considering the customary

rates in the OSB Economic Survey, Mr. Chaimov’s experience and expertise, and the

opinions of Plaintiffs’ experts, this Court concludes that the rates claimed by Mr.

Chaimov are reasonable.

      Christopher McCracken, a partner, billed $600 in 2019. No educational or

professional details for Mr. McCracken were provided.       Considering that Mr.

McCracken is a partner, presumably possessing the requisite experience, the Court

will take corporate litigation as a reasonable comparator in assessing Mr.

McCracken’s rate under the OSB Economic Survey. In downtown Portland, the

mediate rate for such work is $450 and the 95th percentile is $774. OSB Economic




Page 15 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA     Document
                               Document614-1
                                        557      Filed
                                                  Filed11/22/24
                                                        06/20/25    Page
                                                                     Page16
                                                                          16ofof38
                                                                                 38




Survey at 44. The Court concludes that $600 is a reasonable rate for Mr. McCracken

under the circumstances.

      William Miner, a partner, billed $495 in 2019; $575 in 2021; $615 in 2022; $695

in 2023; and $800 in 2024.     Mr. Miner has been a litigator with Davis Wright

Tremaine since graduating from law school in 2004. Miner Decl. ¶ 6(a). In light of

Mr. Miner’s experience and expertise, and considering the customary rates as

reflected in the OSB Economic Survey, as well as the opinions of Plaintiffs’ experts,

the Court concludes that the rates claimed by Mr. Miner are reasonable.

      Christie S. Totten, a partner, billed $505 in 2019.          No educational or

professional details for Ms. Totten were provided. Considering that Ms. Totten is a

partner, presumably possessing the requisite experience, the Court will take

corporate litigation as a reasonable comparator in assessing Ms. Totten’s rate under

the OSB Economic Survey. In downtown Portland, the mediate rate for such work is

$450 and the 95th percentile is $774. OSB Economic Survey at 44. The Court

concludes that $505 is a reasonable rate under the circumstances.

      Andrew McStay, a partner, billed $560 in 2020; $590 in 2021; $625 in 2022;

$700 in 2023; and $805 in 2024. Mr. McStay has worked as a law clerk with the

Ninth Circuit and litigator since graduating from law school in 2003. Miner Decl. ¶

6(b). Considering the customary rates as reflected in the OSB Economic Survey, Mr.

McStay’s experience and expertise, and the opinions of Plaintiffs’ experts, the Court

concludes that the rate claimed for Mr. McStay is reasonable.




Page 16 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA     Document
                               Document614-1
                                        557      Filed
                                                  Filed11/22/24
                                                        06/20/25   Page
                                                                    Page17
                                                                         17ofof38
                                                                                38




      David Ernst, a partner, billed $700 in 2022. No educational or professional

details for Mr. Ernst were provided.     Considering that Mr. Ernst is a partner,

presumably possessing the requisite experience, the Court will take corporate

litigation as a reasonable comparator in assessing Mr. Ernst’s rate under the OSB

Economic Survey. In downtown Portland, the mediate rate for such work is $450 and

the 95th percentile is $774. OSB Economic Survey at 44. In the absence of additional

information, the Court will reduce Mr. Ernst’s rate to $600, consistent with the rate

awarded to Mr. McCracken and the customary rates reflected in the OSB Economic

Survey. At the hours claimed, this will reduce the fees paid to Davis Wright Tremaine

by $80.

      Blake Robinson, of counsel, billed $485 in 2019. No educational or professional

details for Mr. Robinson were provided. The median rate for a corporate litigation

attorney in downtown Portland was $450 and the 95th percentile was $774, OSB

Economic Survey at 44, and so the Court concludes that $485 is a reasonable rate for

Mr. Robinson.

      Paul Southwick, of counsel, billed $460 in 2019 and $510 in 2020.              Mr.

Southwick graduated from law school in 2009 and worked as an associate and counsel

for Davis Wright Tremaine since 2010. Mr. Southwick specializes in civil rights cases

involving the LGBTQ+ community and currently serves as the Director of the ACLU

of Idaho. Miner Decl. ¶ 6(d).    Considering the Mr. Southwick’s experience and

expertise, the customary rates as reflected in the OSB Economic Survey, and the




Page 17 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557        Filed
                                                     Filed11/22/24
                                                           06/20/25    Page
                                                                        Page18
                                                                             18ofof38
                                                                                    38




opinions of Plaintiffs’ experts, the Court concludes that the rates claimed for Mr.

Southwick are reasonable.

      Meghan Slotemaker, an associate, billed $435 in 2019. No educational or

professional details for Ms. Slotemaker were provided. Considering the median rates

charged for corporate litigation in downtown Portland, OSB Economic Survey at 44,

the Court concludes that this rate is reasonable.

      Tahiya Sultan, an associate, billed $470 in 2019.               No educational or

professional details for Ms. Sultan were provided. Considering the median rates

charged for corporate litigation in downtown Portland, OSB Economic Survey at 44,

the Court concludes that this rate is reasonable.

      Ashley Vulvin, an associate, billed $430 in 2019.               No educational or

professional details for Ms. Vulvin were provided. Considering the median rates

charged for corporate litigation in downtown Portland, OSB Economic Survey at 44,

the Court concludes that this rate is reasonable.

      Liz Liam, an associate, billed $425 in 2020. No educational or professional

details for Ms. Liam were provided.       Considering the median rates charged for

corporate litigation in downtown Portland, OSB Economic Survey at 44, the Court

concludes that this rate is reasonable.

      Kellen Luey, an associate, billed $335 in 2020. No educational or professional

details for Mr. Luey were provided.       Considering the median rates charged for

corporate litigation in downtown Portland, OSB Economic Survey at 44, the Court

concludes that this rate is reasonable.




Page 18 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557        Filed
                                                     Filed11/22/24
                                                           06/20/25   Page
                                                                       Page19
                                                                            19ofof38
                                                                                   38




      Matthew Widmeyer, an associate, billed $450 in 2020. No educational or

professional details for Mr. Widmeyer were provided. Considering the median rates

charged for corporate litigation in downtown Portland, OSB Economic Survey at 44,

the Court concludes that this rate is reasonable.

      William Wu, an associate, billed $420 in 2020. No educational or professional

details for Mr. Wu were provided.         Considering the median rates charged for

corporate litigation in downtown Portland, OSB Economic Survey at 44, the Court

concludes that this rate is reasonable.

      Emma Englund, an associate, billed $530 in 2023 and $625 in 2024.                 No

educational or professional details for Ms. Englund were provided. In the absence of

information justifying the claimed rate, the Court will reduce this rate to $450, the

median rate charged by corporate litigation attorneys in downtown Portland. OSB

Economic Survey at 44. At the hours claimed, this will reduce the fee paid to Davis

Wright Tremaine by $2,680.

      Soraya Mohamed, an associate, billed $625 in 2023 and $725 in 2024. No

educational or professional details for Ms. Mohamed were provided. In the absence

of information justifying the claimed rate, the Court will reduce this rate to $450, the

median rate charged by corporate litigation attorneys in downtown Portland. OSB

Economic Survey at 44. At the hours claimed, this will reduce the fee paid to Davis

Wright Tremaine by $3,011.

      Nicholas Traver, an associate, billed $525 in 2023 and $580 in 2024. No

educational or professional details for Mr. Traver were provided. In the absence of




Page 19 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25    Page
                                                                       Page20
                                                                            20ofof38
                                                                                   38




information justifying the claimed rate, the Court will reduce this rate to $450, the

median rate charged by corporate litigation attorneys in downtown Portland. OSB

Economic Survey at 44. At the hours claimed, this will reduce the fee paid to Davis

Wright Tremaine by $288.50.

      Meagan Himes, an associate, billed $660 in 2024.               No educational or

professional details for Ms. Himes were provided, although the Court notes that Ms.

Himes was listed as a law clerk on the case in 2019. Minder Decl. ¶ 5. In the absence

of information justifying the claimed rate, the Court will reduce this rate to $450, the

median rate charged by corporate litigation attorneys in downtown Portland. OSB

Economic Survey, at 44. At the hours claimed, this will reduce the fee paid to Davis

Wright Tremaine by $966.

      Seth Tangman, an associate, billed $715 in 2024.               No educational or

professional details for Mr. Tangman were provided. In the absence of information

justifying the claimed rate, the Court will reduce this rate to $450, the median rate

charged by corporate litigation attorneys in downtown Portland. OSB Economic

Survey, at 44. At the hours claimed, this will reduce the fee paid to Davis Wright

Tremaine by $397.50.

      2. Paralegals

      Davis Wright Tremaine seeks to recover fees for its paralegals at rates varying

from $164 and $425. The Court concludes that $425 is an excessive fee for paralegal

services and exceeds the hourly rate billed by many of the attorneys involved in this

case. See Precision Seed Cleaners, 976 F. Supp.2d at 1248 (“Judges in this District




Page 20 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA     Document
                               Document614-1
                                        557      Filed
                                                  Filed11/22/24
                                                        06/20/25   Page
                                                                    Page21
                                                                         21ofof38
                                                                                38




have noted that a reasonable hourly rate for a paralegal should not exceed that of a

first-year associate.”). The median hourly billing rate for an Oregon attorney with

zero to three years of experience according to the 2022 Oregon State Bar Economic

Survey was $250. OSB Economic Survey at 42; see also McDermott Decl. ¶ 19 (“In

my opinion, a rate of $250 for paralegal work in Portland is reasonable.”). The Court

will cap paralegal fees in this case at $250 per hour and will reduce any fees claimed

for Davis Wright Tremaine paralegals exceeding $250 per hour accordingly. As a

result, the Court will reduce the fees claimed by paralegals Erika Buck ($265 in 2019,

$425 in 2024), Jennifer L. Davis ($265 in 2019, $280 in 2020, $295 in 2021, $315 in

2022, $385 in 2023, $425 in 2024), Jason J. Callan ($295 in 2020, $425 in 2024),

Brenna Louzin ($295 in 2020), David MacKenzie ($270 in 2022, $325 in 2023, $360

in 2024), Julian Oh ($275 in 2022, $305 in 2023), and Gale Holly ($425 in 2024).

Miner Decl. ¶ 5.

      At the claimed hours, this will reduce the fees awarded to Davis Wright

Tremaine by $42,392.00.

      3. Law Clerks, Librarians, and Other Staff

      Davis Wright Tremaine seeks to recover fees for work performed by law clerks

at rates between $320 and $390. Miner Decl. ¶ 5. The Court concludes that this is

not a reasonable fee for law clerks who have not been admitted to the Oregon State

Bar. The Court will cap fees for clerks at $250, which was the statewide median rate

for attorneys with zero to three years of experience in the Oregon State Bar Economic




Page 21 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA       Document
                                 Document614-1
                                          557       Filed
                                                     Filed11/22/24
                                                           06/20/25   Page
                                                                       Page22
                                                                            22ofof38
                                                                                   38




Survey. OSB Economic Survey, at 42. At the hours claimed, this will reduce the fee

awarded to Davis Wright Tremaine by $3,832.50.

       Davis Wright Tremaine seeks to recover fees for librarians at rates between

$280 and $295. Miner Decl. ¶ 5. The Court concludes that this is not a reasonable

fee and will reduce the rate to $250 consistent with the fees awarded to paralegals.

At the hours claimed, this will reduce the fee awarded to Davis Wright Tremaine by

$72.

       Davis Wright Tremaine seeks to recover fees for hours expended by document

clerks at rates between $80 and $180. Clerical tasks are properly subsumed within

the firm overhead as part of the rate billed by the attorneys. Nadarajah v. Holder,

569 F.3d 906, 921 (9th Cir. 2009). The Court will disallow separate fees for document

clerks. This will reduce the fees claimed by Davis Wright Tremaine by $7,166.00.

       D. Rizzo Bosworth Eraut, P.C.

       The firm Rizzo Bosworth Eraut, P.C. employed two attorneys, Steven Rizzo

and Mary Skjelset, and three paralegals in this case. Mr. Rizzo billed at a rate of

$798 while Ms. Skjelset billed at a rate of $683. Plaintiffs seek to recover for paralegal

time at a rate of $250 per hour. Rizzo Decl. Ex. 1, at 78.

       With respect to the rate claimed by Mr. Rizzo, the claimed rate is at the 95th

percentile for a downtown Portland attorney with more than thirty years of

experience. OSB Economic Survey, at 43. The Court has considered Mr. Rizzo’s forty

years of experience and expertise in civil litigation, as well as the customary rates set




Page 22 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA          Document
                                     Document614-1
                                              557          Filed
                                                            Filed11/22/24
                                                                  06/20/25      Page
                                                                                 Page23
                                                                                      23ofof38
                                                                                             38




forth in the OSB Economic Survey and the opinions of Plaintiffs’ experts and

concludes that the claimed rate is reasonable.

          As to Ms. Skjelset, the claimed rate is the 95th percentile for downtown

Portland attorneys with sixteen to twenty years of experience.                     OSB Economic

Survey, at 43. but the Court has considered her seventeen years of experience, her

background in juvenile law, the customary rates set forth in the OSB Economic

Survey, and the opinions of Plaintiffs’ experts and concludes that the claimed rate is

reasonable.

          As discussed elsewhere in this Opinion, $250 is the statewide median rate for

an Oregon attorney with zero to three years of experience and so the Court concludes

that $250 is a reasonable rate for Rizzo Bosworth Eraut paralegals in this case.

    II.      Hours Expended

          Plaintiffs’ counsel expended a total of 23,081.1 hours in this case (A Better

Childhood: 16,056 hours. Lowry Decl. ¶ 2; Disability Rights Oregon: 2,064.1 hours,

Salerno Owens Decl. Ex 3, at 2, ECF No. 532; Davis Wright Tremaine: 2,710.7 hours.

Miner Decl. ¶ 5; Rizzo Bosworth Eraut: 2,250.3 hours. Rizzo Decl. Ex. 1, at 78.).

Although Defendants operated under a different set of priorities and obligations,

which reduces the value of a direct comparison, the Court notes that Defendants have

expended a total of 52,558.7 hours in this case before July 3, 2024, which is more than

twice the time expended by Plaintiffs.5 Blaesing Decl. Ex. 1, at 6.



5
 This does not include the time spent on Defendants’ Objections to Plaintiffs’ Motion for Attorney
Fees and Costs. Given the ambitious scope of the exhibits offered in support of the Objections, the
Court presumes the hours expended after July 3, 2024, are substantial.


Page 23 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA       Document
                                 Document614-1
                                          557      Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page24
                                                                           24ofof38
                                                                                  38




      Defendants challenge the reasonableness of the hours expended by Plaintiffs

in this case. In support of their objections, they have offered an exhibit totaling 1,175

pages detailing their challenges to specific time entries. Salerno Owens Decl. Ex. 1.

      “By and large, the court should defer to the winning lawyer’s professional

judgment as to how much time he was required to spend on the case; after all, he

won, and might not have, had he been more of a slacker.”             Moreno v. City of

Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008). Attorneys working on a contingency

fee basis, like those in the present case, are “not likely to spend unnecessary time,”

because the “payoff is too uncertain, as to both the result and the amount of the fee.”

Id. “It would therefore be the highly atypical civil rights case where plaintiff’s lawyer

engaged in churning.” Id.

      Defendants make several challenges common to all of Plaintiffs’ counsel, which

the Court will address here before proceeding to consideration of the individual firms

and organizations.

      First, Defendants assert that Plaintiffs have engaged in impermissible block-

billing. Courts in this District have defined block billing as “any time entry of three

or more hours either containing four or more tasks, or in the alternative containing

two or more tasks, where at least one of the tasks could have taken anywhere from a

small to a substantial amount of time.” Bala v. Oregon Health and Science Univ., No.

3:18-cv-0850-HZ, 2024 WL 3785975, at *8 (D. Or. Aug. 12, 2024) (internal quotation

marks and citation omitted).      When block billing impedes the court’s ability to

determine that certain hours were reasonably expended, it is reasonable to reduce




Page 24 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page25
                                                                           25ofof38
                                                                                  38




those hours. Welch v. Metro Life Ins. Co., 480 F.3d 942, 948 (9th Cir. 2007). Here,

the Court has reviewed the entries challenged as block-billed and has determined

that the entries do not meet the definition of block billing. The Court declines to

reduce Plaintiffs’ counsels’ claimed hours based on alleged block billing.

      In addition, Defendants assert that many of the time entries made by

Plaintiffs’ counsel are vague. The standard for specificity in billing entries is not

high, but the entry must “establish that the time was spent on matters for which the

district court awarded attorneys’ fees.” Lytle v. Carl, 382 F.3d 978, 989 (9th Cir.

2004). Here, the Court has reviewed the challenged entries and finds that many of

them, when read in context, are perfectly clear. The Court is satisfied that Plaintiffs’

counsels’ time entries are not impermissibly vague. The Court declines to reduce

Plaintiffs’ counsels’ claimed hours based on the alleged vagueness of their billing

entries.

      Defendants challenge several entries in which attorneys for Plaintiffs billed

more than eight hours in a single day. Defendants assert that this is an unreasonable

and unrealistic number of hours for an attorney to bill. The Court is unimpressed

with this objection, as long hours are a frequently observed and much-lamented

aspect of legal practice, particularly in the arena of litigation. The Court has no

trouble accepting that attorneys working on a class action case of this size and

complexity might, on occasion, work for substantially more than eight billable hours




Page 25 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA           Document
                                      Document614-1
                                               557         Filed
                                                            Filed11/22/24
                                                                  06/20/25      Page
                                                                                 Page26
                                                                                      26ofof38
                                                                                             38




in a single day.6 The Court finds these entries regrettably realistic and will not

impose a reduction based on entries exceeding eight hours in a single day.

       Defendants assert that Plaintiffs should not recover fees for time Plaintiffs’

counsel spent meeting, communicating, and coordinating with co-counsel, which

Defendants have marked as “Intra-Team Meetings and Communications” in their list

of specific objections. Salerno Owens Decl. Ex. 1. In Keith v. Volpe, 644 F. Supp. 1317

(C.D. Cal. 1986), aff’d 858 F.2d 467 (9th Cir. 1988), the prevailing party sought an

attorney fee that included “over 600 hours in conference, or nearly a quarter of all

claimed time.” Id. at 1324. The district court relied “on its own experience of complex

litigation and its close familiarity with this litigation,” to reduce the claimed time by

100 hours, bringing the reasonable conference time down to approximately 20% of

the total time in the case. Id. Here, Defendants assert that Plaintiffs expended

3,182.35 hours out of a total of 23,081.1 in intra-team meetings. Def. Obj. at 15, ECF

No. 531. This amounts to approximately 13.8% of the claimed hours, well below the

20% threshold identified as reasonable in Volpe. As in Volpe, the Court relies on its

own experience with complex litigation and its long experience with scope and

complexity of the present case and concludes that Plaintiffs’ counsel did not spend an

unreasonable amount of time on conferences and internal communication. The Court

declines to reduce the claimed hours for time spent on intra-team communications.




6
  In her Supplemental Declaration, Ms. Lowry further clarified that for some of days where counsel
billed more than eight hours, the billing entry accounted for lengthy periods of travel, in addition to
other billable work. Supp. Lowry Decl. ¶ 5.



Page 26 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page27
                                                                           27ofof38
                                                                                  38




      Defendants assert that Plaintiffs’ counsels’ fees should be reduced for

unsuccessful motions, as Defendants prevailed on a number of pretrial and discovery

issues.   The Ninth Circuit has indicated that a plaintiff may recover fees for time

spent on an unsuccessful motion if that motion contributed to the plaintiff’s success

on the claims on which she prevailed. See Webb v. Sloan, 330 F.3d 1158, 1169 (9th

Cir. 2003) (“Even though the summary judgment motion failed, work done to prepare

for the motion on those theories could have contributed to the final result achieved.”).

Courts should therefore consider whether the hours expended on an unsuccessful

motion were “reasonably spent in pursuit of the litigation.” Jacobson v. Persolve,

LLC, Case No. 14-CV-00735-LHK, 2016 WL 7230873, at *11 (N.D. Cal. Dec. 14, 2016)

(internal quotation marks and citations omitted). “Courts have excluded or reduced

hours on unsuccessful motions where those motions were not factually or legally

related to the claims in the lawsuit,” and have also “excluded or reduced time when

the motions were deficient or had no legal basis.” Id. Here, the Court concludes that

the unsuccessful motions were reasonably spent in in pursuit of litigation and so

declines to reduce the fees based on unsuccessful motions, with one limited exception

related to Rizzo Bosworth Eraut, discussed subsection devoted to that firm below.

      Defendants also urge the Court to reduce Plaintiffs’ counsels’ hours for time

spent pursuing unsuccessful claims, particularly those dismissed by the Court in

ruling on the motion to dismiss and matters excluded from trial by the Court’s later

pretrial orders. The Ninth Circuit has held that hours spent working on unsuccessful

claims should not be excluded if the unsuccessful claims are sufficiently related to the




Page 27 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page28
                                                                           28ofof38
                                                                                  38




successful claims. Webb, 330 F.3d at 1168. “[R]elated claims involve a common core

of facts or are based on related legal theories.” Id. (emphasis in original). Here, the

Court is satisfied that the dismissed claims and excluded matters were sufficiently

related to the successful claims and that no reduction is warranted.

   A. A Better Childhood

      Plaintiffs seek to recover fees for 16,056 hours expended in this case by

attorneys and staff of A Better Childhood. Lowry Decl. ¶ 2

      Defendants seek to exclude hours claimed by attorneys who are not admitted

to practice in Oregon. The Ninth Circuit has held that an attorney who has not been

admitted, either generally or pro hac vice, in the relevant jurisdiction may still

recover fees if (1) the attorney “would have certainly been permitted to appear pro

hac vice as a matter of course had he or she applied,” or (2) if the attorney’s conduct

“did not rise to the level of ‘appearing’ before the district court.” Winterrowd v. Am.

Gen. Annuity Ins. Co., 556 F.3d 815, 822-24 (9th Cir. 2009). Here, while the Court

does not seriously doubt that the attorneys in question would have been admissible

pro hac vice had they applied, there is insufficient information for the Court to make

the necessary findings. However, the attorneys may still recover fees because their

work did not amount to “appearing” before this Court. They did not, for example,

argue motions or sign briefs. See Winterrowd, 556 F.3d at 824. The Court will not,

therefore, disallow fees for these out-of-state attorneys.

      Defendants have also objected to A Better Childhood’s billing for travel time to

and from Oregon. Ms. Lowry has affirmed that, in the exercise of billing judgment,




Page 28 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page29
                                                                           29ofof38
                                                                                  38




A Better Childhood capped its travel time billing at eight hours, despite the fact that

travel to and from Oregon frequently took much longer. Supp. Lowry Decl. ¶ 2. A

Better Childhood reduced its travel time billing by 50% on the advice of Plaintiffs’

expert. Id. at ¶ 4. The Court concludes that A Better Childhood reasonably incurred

its travel hours.

       Defendants have objected to a particular entry from November 2022, in which

Ms. Lowry billed eighteen hours for travel from New Orleans to Salt Lake City to

New York. Salerno Owens Decl. Ex. 1, at 432. Plaintiffs have explained that this

entry was for a meeting with Defendants, which was cancelled by Defendants while

Ms. Lowry was en route to Oregon. Supp. Lowry Decl. ¶ 8. This is borne out by an

explanatory parenthetical in the time entry itself, which states “Cancelled conference

last minute so Marcia [Lowry] had to turn around in SLC.” Salerno Owens Decl. Ex.

1, at 432. The Court concludes that this time entry is not unreasonable, under the

circumstances, and the Court declines to reduce A Better Childhood’s hours to

account for it.

       Defendants have also objected to the high turnover rate for attorneys working

with A Better Childhood, arguing that billing inefficiencies are incurred through the

loss of institutional knowledge and the need to bring new lawyers up to speed on the

case. Plaintiffs affirm that this inefficiency has been accounted for in their billing

structure and that A Better Childhood “does not bill states for the majority of attorney

or paralegal time spent getting up to speed on a new case,” and that most of this time

“is either written off or billed internally as ‘administrative’ time.” Supp. Lowry Decl.




Page 29 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557     Filed
                                                  Filed11/22/24
                                                        06/20/25   Page
                                                                    Page30
                                                                         30ofof38
                                                                                38




¶ 6. The Court concludes that such a practice reflects good billing judgment and the

Court declines to reduce the hours claimed for A Better Childhood to account for staff

turnover.

      The Court has reviewed the hours claimed by Plaintiffs for work done by the

attorneys and staff of A Better Childhood, as well as the general and specific

objections to those hours raised by Defendants. Salerno Owens Decl. Ex. 1. The

Court concludes that the claimed hours were reasonably incurred and declines to

reduce the claimed hours. The Court will award the full requested amount of fees for

attorneys and staff of A Better Childhood.

   B. Disability Rights Oregon

      Disability Rights Oregon claims a total of 2,064.10 hours in this case.

Defendants’ only general objections to the hours claimed by Disability Rights Oregon

concern vagueness and block-billing, which the Court has already addressed. The

Court has reviewed the hours claimed by Disability Rights Oregon and Defendants’

specific objections to their billing entries, Salerno Owens Decl. Ex. 1, and concludes

that the hours were reasonably expended. The Court declines to reduce the hours

claimed for Disability Rights Oregon. The Court will award the full amount of fees

requested for the work done by the attorneys and staff of Disability Rights Oregon.

   C. Davis Wright Tremaine

      As a preliminary matter, Defendants assert that Davis Wright Tremaine

should be judicially estopped from recovering attorney fees because they represented

to the Court that they took the case on a pro bono basis. Def. Obj. 43-46. While it is




Page 30 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA       Document
                                 Document614-1
                                          557       Filed
                                                     Filed11/22/24
                                                           06/20/25   Page
                                                                       Page31
                                                                            31ofof38
                                                                                   38




true that Davis Wright Tremaine took this case pro bono and represented as much to

the Court, those facts are of no consequence to their entitlement to fees. The Ninth

Circuit has held that “[a]ttorney fees are recoverable by pro bono attorneys to the

same extent that they are recoverable by attorneys who charge for their services.”

Voice v. Stormans, Inc., 757 F.3d 1015, 1017 (9th Cir. 2014). Davis Wright Tremaine’s

pro bono policies are consistent with that precept and the firm takes on cases that

involve fee-shifting, such as civil rights cases, which provides the firm with the ability

to take on pro bono cases where there is no entitlement to fees or cases that do not

result in the award of fees. Supp. Miner Decl. ¶¶ 5-6. In this case, Davis Wright

Tremaine’s engagement letters with Plaintiffs specifically stated that, while the

client would not be responsible for fees incurred, Davis Wright Tremaine retained the

right to pursue fees. Id. at ¶ 7. To the extent Defendants assert that Plaintiffs gained

a litigation advantage by emphasizing the pro bono nature of Davis Wright

Tremaine’s work, no such advantage was gained, as the Court shared Davis Wright

Tremaine’s understanding of the meaning of pro bono work—that any recovery by

counsel was contingent upon a successful claim that involved either fee-shifting or

Defendants’ agreement to pay fees. On this record, the Court declines to find that

Plaintiffs are judicially estopped from pursuing fees for the work done by Davis

Wright Tremaine.

      In addition, Defendants argue that Plaintiffs should not be permitted to

recover fees for work performed by out-of-state attorneys who were not admitted to

practice in the District of Oregon, either generally or specially. The Court addressed




Page 31 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557       Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page32
                                                                           32ofof38
                                                                                  38




this issue in resolving Defendants’ challenge to A Better Childhood’s fees in the

previous section and reaches the same conclusion with respect to the Davis Wright

Tremaine attorneys.      The non-admitted attorneys’ work did not amount to

“appearing” before this Court and so their fees will be allowed.

      The Court has reviewed the claimed hours and Defendants’ specific objections,

Salerno Owens Decl. Ex. 1, and finds that the hours were reasonably expended and

that there is no cause to reduce the hours claimed by Plaintiff for Davis Wright

Tremaine.

      However, as discussed in the previous section on reasonable rates, the Court

did reduce the rates claimed by several Davis Wright Tremaine timekeepers and

disallowed fees for document clerks entirely. As a result, the Court reduces the fees

claimed for Davis Wright Tremaine by a total of $60,885.50.

   D. Rizzo Bosworth Eraut

      Mr. Rizzo billed for 752 hours in this case. Rizzo Decl. Ex. 1, at 78. Ms. Skjelset

billed for 488.9 hours in this case. Rizzo Decl. Ex. 1, at 78. The three paralegals in

this case billed a total of 1,009.4 hours between them. Rizzo Decl. Ex. 1, at 78.

      Defendants assert that Rizzo Bosworth Eraut unreasonably staffed the case

because the only attorneys from that firm who worked on the case were partners and

they failed to delegate tasks to associates billing at lower rates. However, Mr. Rizzo

and Ms. Skjelset are the only attorneys in their firm who practice this type of civil

rights litigation and their experience and past success in litigating such cases was a




Page 32 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA         Document
                                   Document614-1
                                            557    Filed
                                                    Filed11/22/24
                                                          06/20/25   Page
                                                                      Page33
                                                                           33ofof38
                                                                                  38




major factor in their selection as co-class counsel. Supp. Rizzo Decl. ¶ 15. The Court

declines to reduce the hours claimed by Rizzo Bosworth Eraut on the basis of staffing.

      Defendants assert that the hours billed by Rizzo Bosworth Eraut are

unrealistically high, given their late entry into the case and the fact that the firm was

also engaged in other high-intensity litigation against DHS during the same

timeframe. The Court notes, however, that Mr. Rizzo and Ms. Skjelset were engaged

as co-class counsel in anticipation of trial and that the hours expended by all firms

involved in the case, including Defendants’ counsel, increased substantially as the

scheduled trial date approached and the pace of active litigation increased. For

example, Vivek A. Kothari and Lauren F. Blaesing, both partners in the firm

representing Defendants, billed 863.2 hours and 772.8 hours respectively the first six

months of 2024. Blaesing Decl. Ex. 1, at 6. Viewed in the wider context of the case

and the hours accrued by the other attorneys involved, the Court does not find the

hours claimed by the Rizzo Bosworth Eraut attorneys to be unrealistic or

unreasonable.

      Defendants challenge the number of hours spent by Rizzo Bosworth Eraut

attorneys and paralegals reviewing and studying the Public Knowledge report. The

Court notes, however, that this was a lengthy and complex expert report, running to

hundreds of pages, which promised to be a key component of Defendants’ case at trial.

The Court will not reduce the hours claimed by Plaintiffs’ counsel in preparing to

challenge or rebut that report.




Page 33 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA      Document
                                Document614-1
                                         557      Filed
                                                   Filed11/22/24
                                                         06/20/25   Page
                                                                     Page34
                                                                          34ofof38
                                                                                 38




      Although Plaintiffs were not successful on a number of pretrial motions and

other issues advanced by Rizzo Bosworth Eraut attorneys, the Court declines to

reduce the claimed fee as a result. “[P]laintiffs are to be compensated for attorney’s

fees incurred for services that contribute to the ultimate victory in the lawsuit.”

Cabrales, 935 F.2d at 1052. Plaintiffs were not successful in expanding the scope of

the claims at issue in this case, but they preserved and prevailed on the core claims

raised in the Complaint.

      There is one exception, however. On April 11, 2024, the Court issued an

Opinion and Order in which it resolved a motion for protective order and a motion to

quash. ECF No. 367. In that Order, the Court rejected Plaintiffs’ efforts to seek

discovery related to Defendants’ public relations and/or media strategy, observing

that the material sought was not relevant to any claim or defense; would not assist

the Court in resolving any of the issues in the case; and was “frankly, a waste of time

for all concerned.” April 11, 2024 O&O, at 8. The Court will reduce the hours claimed

by Rizzo Bosworth Eraut by ten hours at the highest billed rate, that of Mr. Rizzo, for

the advancement of that argument because it was, as the Court observed, a waste of

time for all concerned. This reduction represents the Court’s estimation of the hours

expended by Plaintiffs’ counsel in litigating that specific subset of issues in that

motion. This will reduce the fees awarded to Rizzo Bosworth Eraut by $7,980.00.

      Relatedly, the Court notes a number of docket entries for Rizzo Bosworth Eraut

paralegals related to “review[ing] local media coverage of DHS.” See, e.g., Salerno

Owens Decl. Ex. 1, at 1074, 1075, 1076, 1078, 1080, 1082. “Prevailing civil rights




Page 34 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA     Document
                               Document614-1
                                        557      Filed
                                                  Filed11/22/24
                                                        06/20/25   Page
                                                                    Page35
                                                                         35ofof38
                                                                                38




counsel are entitled to fees for press conferences and performance of other lobbying

and public relations work when those efforts are directly and intimately related to

the successful representation of a client.” Gilbrook v. City of Westminster, 177 F.3d

839, 877 (9th Cir. 1999). As a result, the Court will not disallow fees for all media-

related tasks, but the Court has reviewed the challenged hours and concludes that

the hours devoted to media tasks by Rizzo Bosworth Eraut paralegals are excessive.

The Court will reduce the paralegal hours claimed by Rizzo Bosworth Eruat by 98.4

hours for time spent reviewing media coverage and related tasks. This will reduce

the fee awarded to Rizzo Bosworth Eraut by $24,600.00.

   III.   Costs and Litigation Expenses

      Plaintiffs seek costs totaling $590,580.07. As with attorney fees, these costs

are divided between the firms and organizations that represented Plaintiffs: A Better

Childhood ($136,279.84), Supp. Lowry Decl. Ex. 2, at 9; Disability Rights Oregon

($20,730.52), Cooper Decl. Ex. F, at 22; Davis Wright Tremaine ($429,112.45), Miner

Decl. ¶ 10; and Rizzo Bosworth Eraut ($4,447.26), Rizzo Decl. Ex. 1, at 77. At the

Court’s request, Defendants have submitted an exhibit detailing their costs in this

action, which totaled $5,225,465.88. Blaesing Decl. Ex. 2.

      Defendants assert that Plaintiffs may not recover fees for expert witnesses

under 42 U.S.C. § 1988. Defendants concede that expert witness costs are recoverable

under the ADA and so concede that Plaintiffs may recover for the fees paid to Dr.




Page 35 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA          Document
                                     Document614-1
                                              557         Filed
                                                           Filed11/22/24
                                                                 06/20/25     Page
                                                                               Page36
                                                                                    36ofof38
                                                                                           38




Farina, as her work concerned the ADA claim, but asserts that Plaintiffs may not

recover their other expert witness costs.7

       The Court declines to divide the expert witness fees on that basis. Under the

ADA, “[i]n any action or administrative proceeding commenced pursuant to this

chapter, the court or agency, in its discretion, may allow the prevailing party . . . a

reasonable attorney’s fee, including litigation expenses, and costs[.]” 42 U.S.C. §

12205. The text of the statute refers to an “action,” rather than an individual claim.

In Bell v. Williams, Case No. 18-cv-01245-SI, 2023 WL 4850761, at *10 (N.D. Cal.

July 28, 2023), the district court declined to reduce expert costs in a hybrid

constitutional-ADA case, finding that the expert fees were “fully recoverable under

the ADA.”      Similarly, in Moralez v. Claim Jumper Acquisition Co., LLC, Case No.

3:180cv001410-JD, 2019 WL 2437175, at *2 (N.D. Cal. June 11, 2019), the district

court declined to limit the recovery of expert costs when the plaintiff brought claims

under the ADA, which permits the recovery of expert costs, and under California state

law, which does not. See also Clark v. Peco, Inc., No. 97-737-HU, 1999 WL 398012,

at *12 (D. Or. April 16, 1999) (“Although the parties dispute whether plaintiff is

allowed to recover her expert witness fees under state law, I need not resolve the

issue as it is undisputed that she may recover such fees under her ADA claim.”). The

Court concludes that Plaintiff’s expert witness costs are fully compensable under §

12205.




7
 The Court notes that Defendants incurred costs of $2,081,081.06 for expert costs and an additional
$225,050.00 for consulting expert costs. Blaesing Decl. Ex 2.


Page 36 –OPINION & ORDER
    Case
     Case3:02-cv-00339-AN
          6:19-cv-00556-AA          Document
                                     Document614-1
                                              557          Filed
                                                            Filed11/22/24
                                                                  06/20/25      Page
                                                                                 Page37
                                                                                      37ofof38
                                                                                             38




       Defendants assert that Plaintiffs may not recover travel costs or the costs for

cancelled lodging made in anticipation of trial under either Federal Rule of Civil

Procedure 54(d) or 28 U.S.C. § 1920.8 However, “[u]nder § 1988, [a plaintiff] may

recover as a part of the award of attorneys’ fees those out-of-pocket expenses that

would normally be charged to a fee paying client.” Harris v. Marhoefer, 24 F.3d 16,

19 (9th Cir. 1994) (internal quotation marks and citations omitted). Travel, hotel,

and meal costs have been recognized as part of such out-of-pocket expenses. Davis v.

City and Cnty. of San Francisco, 976 F.2d 1536, 1556 (9th Cir. 1992), as amended 984

F.2d 345 (9th Cir. 1993); Marhoefer, 24 F.3d at 19-20. The Court will not exclude

costs for travel, hotel, or meals.

       Defendants also object to Plaintiffs’ counsel’s use of “luxury” hotels and “black

car service.” The hotels used by Plaintiffs’ counsel in Portland cost, on average,

$198.80 per night, plus tax, which is not an unreasonable or unexpected rate for

Portland hotels. Supp. Lowry Decl. ¶ 10. The only time A Better Childhood’s lodging

costs exceeded $300 per night was when Plaintiffs’ counsel were in Ann Arbor,

Michigan for the deposition of an expert witness and, in that case, the hotel where

the deposition took place was selected by Defendants. Id. at ¶ 11. As for the “black

car service,” Plaintiffs’ counsel has explained that she used a “trusted car service”

because she often arrived or departed from airports in New York and Portland in the

early hours of the morning or late in the evening when ordinary taxi service was not




8
 The Court notes that Defendants incurred costs of $8,676.66 for air travel, $75,825.79 for hotel and
ground transportation, and $922.87 for meals. Blaesing Decl. Ex. 2.


Page 37 –OPINION & ORDER
   Case
    Case3:02-cv-00339-AN
         6:19-cv-00556-AA         Document
                                   Document614-1
                                            557      Filed
                                                      Filed11/22/24
                                                            06/20/25   Page
                                                                        Page38
                                                                             38ofof38
                                                                                    38




available. Id. at ¶ 7. The Court declines to reduce the costs incurred by Plaintiffs on

this basis.

         Finally, Defendants object to costs billing for multi-stop flights by counsel from

A Better Childhood, which included flights to other states where A Better Childhood

was engaged in litigation. Plaintiffs’ counsel has explained that when attorneys and

staff from A Better Childhood travel to multiple states where litigation is ongoing, it

will divide the costs between the states and cases involved in the trip. Supp. Lowry

Decl. ¶ 9. This is confirmed by a review of Plaintiffs’ counsels’ claimed costs. See,

e.g., Lowry Decl. ¶ 29 (a chart of travel costs showing 50% reductions when “Half of

trip was for other business.”). The Court declines to reduce Plaintiffs’ costs on this

basis.

         In sum, the Court will award Plaintiffs their full requested costs in the amount

of $590,580.07.

                                     CONCLUSION

         For the reasons set forth above, Plaintiff’s Motion for Attorney Fees and Costs,

ECF No. 514, is GRANTED in part on the following terms. Plaintiffs are awarded

attorney fees in the amount of $10,826,835.50. Plaintiffs are awarded costs and

litigation expenses in the amount of $590,580.07.

         It is so ORDERED and DATED this          22nd       day of November 2024.


                                            /s/Ann Aiken
                                           ANN AIKEN
                                           United States District Judge




Page 38 –OPINION & ORDER
